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                                                                                 CLERK, U.S. uiS ff-llQ_l~CO_URI'
                                                                                 NORTHE:J1N DiSTHIC I uF OHIO
                          IN THE UNITED STATES DISTRICT COURT                             C! F\IF-1/\ND
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA,                           )   INFORMATION
                                                     )
                 Plaintiff,                          )
                                                     )
           V.                                        )
                                                     )
                                                         CASENO.     1    : 25 MJ 08001
                                                                   Title 18, United States Code,
 ELDRIDGE SMITH,                                     )             Section 641
                                                     )
                 Defendant.                          )                  MAG JUDGE GRIMES
                                              COUNTS 1-2
                              (Theft of Government Funds, 18 U.S.C. § 641)

The United States Attorney charges:

       1.       On or about each of the dates set forth below, in the Northern District of Ohio,

Eastern Division, and elsewhere, Defendant ELDRIDGE SMITH, in a continuing course of

conduct, knowingly and willfully embezzled, stole, purloined, and converted to his own use money

of the Unite4 States or any department or agency thereof, to wit: Paycheck Protection Program

(PPP) benefits obtained by fraud from the Small Business Administration, each taking constituting

a separate count of this Information:

    Count       Approximate Date(s)                      Description of Taking

       1           May 26, 2021            An ACH transfer of approximately $20,010 in PPP
                                           loan benefits

       2            June 8, 2021           An ACH transfer of approximately $20,010 in PPP
                                           loan benefits
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all in violation of Title 18, United States Code, Section 641.


                                              CAROL M. SKUTNIK
                                              Acting United States


                                      By:
                                              Kelly L. G vin
                                              Chief, General Crimes Unit




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